Case 3:09-cr-03772-WQH        Document 157        Filed 09/22/10    PageID.520      Page 1 of 3



  1
  2
  3
  4
  5
  6
  7
  8                           UNITED STATES DISTRICT COURT
  9                        SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    UNITED STATES OF AMERICA,                               CASE NO. 09CR3772 WQH
 12                                        Plaintiff,          ORDER
             vs.
 13    SERGIO GUZMAN-TORRES (1),
       JOSE JARAMILLO-MENDEZ (2),
 14
                                         Defendant.
 15
      HAYES, Judge:
 16
             The matter before the Court is the motion to suppress statement filed by Defendant Jose
 17
      Jaramillo-Mendez (ECF No. 37-7).
 18
                                   BACKGROUND FACTS
 19
             On September 22, 2009, three vans attempted to enter the United States from Mexico
 20
      through lane three of the San Ysidro Port of Entry. Defendant Sergio Guzman-Torres was the
 21
      driver of one of the vans.      The van driven by Guzman-Torres contained twenty-five
 22
      undocumented individuals from Mexico attempting to enter the United States illegally. The
 23
      Government alleges that Defendant Jose Jaramillo-Mendez acted as the alien-smuggler of the
 24
      van driven by Guzman-Torres. Defendants were charged in a ten count indictment with four
 25
      counts of Bringing in Illegal Aliens for financial gain in violation of 8 U.S.C.
 26
      §1324(a)(2)(B)(ii), and four counts of bringing in illegal aliens for presentation and aiding and
 27
      abetting in violation of 8 U.S.C. §1324(a)(2)(B)(iii). Defendant Guzman-Torres was charged
 28
      with two counts of assault on a federal officer in violation of 8 U.S.C. § 111(a)(1) and (b). In

                                                        -1-                                 09cr3772 WQH
Case 3:09-cr-03772-WQH         Document 157      Filed 09/22/10     PageID.521      Page 2 of 3



  1   addition to the charges in the indictment, a superseding indictment charged the Defendant
  2   Jaramillo-Mendez with two counts of attempted witness tampering in violation of 18 U.S.C.
  3   § 1512(b)(1). Defendant Guzman-Torres has entered a plea of guilty to Counts three, five and
  4   seven of the Superseding Indictment.
  5            Defendant Jaramillo-Mendez moves to suppress his post-arrest statement on the grounds
  6   that the Government has not demonstrated that his waiver of Miranda rights was voluntary,
  7   knowing, and intelligent. Defendant Jaramillo-Mendez further asserts that his statements were
  8   not voluntary. The Government contends that the evidence demonstrates that the waiver of
  9   Miranda was valid and the Defendant’s statements were voluntary.
 10            Defendant Jaramillo-Mendez was detained at the San Ysidro Port of Entry on
 11   September 22, 2009 at 3:30 p.m. after the van in which he was a passenger was stopped
 12   attempting to run the port. Immigration and Customs Enforcement Agent Thomas Mendias
 13   interviewed Defendant Jaramillo-Mendez at the port of entry at 11:14 p.m. The interview was
 14   conducted in the Spanish language by Agent Mendias who is fluent in Spanish. Prior to any
 15   questioning, Defendant was informed of his rights under Miranda v. Arizona. Defendant
 16   executed a written Statement of Rights and Waiver form. Agent Mendias testified at the
 17   hearing before this Court that any delay in the interview was a result of the scope of the
 18   investigation in this case, which included three vans, more than sixty illegal aliens, and shots
 19   fired.
 20            In order for inculpatory statements made by a defendant during custodial interrogation
 21   to be admissible in evidence, the waiver of Miranda rights must be voluntary, knowing, and
 22   intelligent. See United States v. Crews, 502 F.3d 1130, 1140 (9th Cir. 2007). In order to be
 23   knowing and intelligent, “the waiver must have been made with full awareness of both the
 24   nature of the right being abandoned and the consequences of the decision to abandon it.”
 25   Moran v. Burdine, 475 U.S. 412, 421 (1986). There is a presumption against waiver and the
 26   Government bears the burden of establishing the existence of a valid waiver of Miranda rights.
 27   North Carolina v. Butler, 441 U.S. 369, 374-75 (1979). The validity of a waiver depends
 28   upon the particular facts and circumstances of the case, including the background, experience


                                                    -2-                                    09cr3772 WQH
Case 3:09-cr-03772-WQH       Document 157       Filed 09/22/10    PageID.522        Page 3 of 3



  1   and conduct of the defendant. Edwards v. Arizona, 451 U.S. 477, 482 (1981). “Several factors
  2   to consider are (i) defendant’s mental capacity; (ii) whether the defendant signed a written
  3   waiver; (iii) whether the defendant was advised in his native tongue or had a translator; (iv)
  4   whether the defendant appeared to understand his rights; (v) whether the defendant’s rights
  5   were individually and repeatedly explained to him; and (vi) whether the defendant had prior
  6   experience with the criminal justice system.” United States v. Crews, 502 F.3d 1130, 1140
  7   (9th Cir. 2007).
  8          The interview with the Defendant was recorded on videotape. The Court has reviewed
  9   the video and the transcript prepared from the videotape. The videotape shows that Defendant
 10   Jaramillo-Mendez was informed of his Miranda rights, and that he waived his rights and
 11   agreed to speak with the agents. Defendant was advised of his rights in his native language.
 12   Defendant appears to have understood his rights, and to have intelligently and knowingly
 13   waived his rights. There is no evidence that agents used duress or coercion in any manner.
 14   The evidence shows that any delay in conducting the interview was reasonable and necessary
 15   based upon the seriousness of the incident and the scope of the investigation. The Court finds
 16   that the Government has demonstrated that the waiver of Miranda right was voluntary,
 17   knowing, and intelligent and that the statements made by the Defendant Jaramillo-Mendez
 18   were voluntary.
 19          IT IS HEREBY ORDERED that the motion to suppress statement filed by Defendant
 20   Jose Jaramillo-Mendez (ECF No. 37-7) is denied.
 21
 22   DATED: September 22, 2010
 23
                                                      WILLIAM Q. HAYES
 24                                                  United States District Judge
 25
 26
 27
 28


                                                   -3-                                    09cr3772 WQH
